 Case 19-68019-lrc      Doc 21    Filed 12/27/19 Entered 12/27/19 13:08:30        Desc
                                        Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        )
                                              )      CHAPTER 13
ALLEN LAURENCE RICHARDSON                     )      CASE NO.: 19-68019-LRC
                                              )
                                              )
         DEBTOR.                              )

                           CHAPTER 13 TRUSTEE'S
              OBJECTION TO CONFIRMATION & MOTION TO DISMISS

        Melissa J. Davey, Chapter 13 Trustee, objects to confirmation of the plan and moves
to dismiss this case pursuant to 11 U.S.C. Section 1307(c) for the following reasons:

       1.      The plan as proposed will extend beyond sixty (60) months, contrary to 11
U.S.C. Section 1322(d).

       2.      In accordance with General Order Nos. 18-2015 and/or 22-2017 and the
Statement of Rights and Responsibilities, the Debtor’s attorney should timely provide proof
of Debtor’s $5,450.00 per month self employment income and Debtor's non filing spouse's
$800.00 per month self employment income to the Chapter 13 Trustee. 11 U.S.C. Sections
521(a)(1), 1325(a)(3), 1325(a)(6), 1325(b)(1)(B) and Bankruptcy Rule 1007.

         3. The Debtor has failed to provide the Trustee with a copy of the federal
income tax return for the most recent tax year ending immediately before the
commencement of the instant case in violation of 11 U.S.C. Section 521(e)(2)(A)(i).

       4.    The Plan appears to be infeasible, as Debtor has failed to pay the post-petition
monthly mortgage payments for 2979 North 54th Street Milwaukee, WI. 11 U.S.C. Section
1325(a)(6).

         5.    Due to a change in circumstances since filing, Schedules I and J do not
correctly reflect the current financial situation, preventing the Trustee from evaluating
feasibility. 11 U.S.C. Section 1325(a)(6). Pursuant to Debtor's testimony, Debtor's
$300.00 per month food stamp income will end in December 2019.

       6.      The Chapter 13 Plan fails to provide treatment of the filed secured claim of
the United States Department of Housing & Urban Development in violation of 11 U.S.C.
Sections 1322(a)(2) or 1325(a)(5).
 Case 19-68019-lrc     Doc 21    Filed 12/27/19 Entered 12/27/19 13:08:30         Desc
                                       Page 2 of 3


        7.     The Chapter 13 plan proposes to pay $6,000.00 to the Debtor’s Attorney for
payment of attorney fees. The Trustee is unable to determine whether this is a reasonable
fee and would request that Debtor's counsel appear at confirmation and be prepared to
present evidence to the Court regarding the reasonableness of the requested fee.

        Wherefore, the Trustee moves this Honorable Court to consider the above
objections at the confirmation hearing, deny confirmation of the Chapter 13 plan, dismiss
the case pursuant to 11 U.S.C. Section 1307(c), and for such other and further relief that
this Court deems just and proper.

Dated: December 27, 2019
                                                    /s/Delaycee Rowland
                                                    Delaycee Rowland
                                                    Attorney for the Chapter 13 Trustee
                                                    GA Bar No. 773359
                                                    260 Peachtree Street, NW, Suite 200
                                                    Atlanta, GA 30303
                                                    Telephone:      (678) 510-1444
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 Case 19-68019-lrc      Doc 21     Filed 12/27/19 Entered 12/27/19 13:08:30         Desc
                                         Page 3 of 3


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
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IN RE:                                         )
                                               )      CHAPTER 13
ALLEN LAURENCE RICHARDSON                      )      CASE NO.: 19-68019-LRC
                                               )
                                               )
         DEBTOR.                               )

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Chapter 13
Trustee's Objection To Confirmation & Motion To Dismiss using the Bankruptcy Court’s
Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case
under the Bankruptcy Court’s Electronic Case Filing program:

Andrea Lynn Betts abetts@rascrane.com
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       I further certify that on this day I caused a copy of this document to be served via
United States First Class Mail on the following parties at the address shown for each:

DEBTOR(S):
ALLEN LAURENCE RICHARDSON
574 HARALSON DRIVE SW
LILBURN, GA 30047
Dated: December 27, 2019                              /s/Delaycee Rowland
                                                      Delaycee Rowland
                                                      Attorney for the Chapter 13 Trustee
                                                      GA Bar No. 773359
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